       Case 23-10642-amc                     Doc 8 Filed 03/09/23 Entered 03/10/23 00:32:39                                             Desc Imaged
                                                  Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                 Case No. 23-10642-amc
Michael V. Sajeski                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 07, 2023                                               Form ID: 309A                                                             Total Noticed: 16
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 09, 2023:
Recip ID                  Recipient Name and Address
db                    +   Michael V. Sajeski, 952 Harmony Hill Road, West Chester, PA 19380-1842
14762530             ++   CITIBANK, PO BOX 790034, ST LOUIS MO 63179-0034 address filed with court:, Home Depot, POB 182676, Columbus, OH 43218
14762526              +   Citizens Bank Center, POB 7000, Providence, RI 02940-7000
14762528              +   Discover Card, POB 71094, Charlotte, NC 28272-1094

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: get24esq@aol.com
                                                                                        Mar 08 2023 00:20:00      GARY E. THOMPSON, 150 E. Swedesford Road,
                                                                                                                  1st Floor, Wayne, PA 19087
tr                     + EDI: FGARYFSEITZ.COM
                                                                                        Mar 08 2023 05:16:00      GARY F. SEITZ, Gellert Scali Busenkell &
                                                                                                                  Brown LLC, 8 Penn Center, 1628 John F.
                                                                                                                  Kennedy Blvd, Suite 1901, Philadelphia, PA
                                                                                                                  19103-2113
smg                       Email/Text: megan.harper@phila.gov
                                                                                        Mar 08 2023 00:20:00      City of Philadelphia, City of Philadelphia Law
                                                                                                                  Dept., Tax Unit/Bankruptcy Dept, 1515 Arch
                                                                                                                  Street 15th Floor, Philadelphia, PA 19102-1595
smg                       EDI: PENNDEPTREV
                                                                                        Mar 08 2023 05:16:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
smg                       Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                        Mar 08 2023 00:20:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
ust                    + Email/Text: ustpregion03.ph.ecf@usdoj.gov
                                                                                        Mar 08 2023 00:20:00      United States Trustee, Office of United States
                                                                                                                  Trustee, Robert N.C. Nix Federal Building, 900
                                                                                                                  Market Street, Suite 320, Philadelphia, PA
                                                                                                                  19107-4202
14762524               + EDI: TSYS2
                                                                                        Mar 08 2023 05:16:00      Barclays Bank, POB 13337, Philadelphia, PA
                                                                                                                  19101-3337
14762527               + EDI: WFNNB.COM
                                                                                        Mar 08 2023 05:16:00      Comenity Bank, POB 182273, Columbus, OH
                                                                                                                  43218-2273
14762529                  Email/Text: MemberSolutionsBankruptcyNotification@fmfcu.org
                                                                                 Mar 08 2023 00:20:00             Franklin Mint FCU, 1974 Sproul Road, Ste 300,
                                                                                                                  Broomall, PA 19008
14762525                  EDI: JPMORGANCHASE
                                                                                        Mar 08 2023 05:16:00      Chase Cardmember, POB 15153, Wilmington, DE
                                                                                                                  19886
14762531               + Email/Text: BhamBankruptcy@sba.gov
                                                                                        Mar 08 2023 00:20:00      Small Business Administration, SBA, 2 North 20th
                                                                                                                  Street, Suite 320, Birmingham, AL 35203-4002
14762532                  EDI: TDBANKNORTH.COM
                                                                                        Mar 08 2023 05:16:00      TD Bank NA, POB 746, Keene, NH 03431
14762533                  EDI: USBANKARS.COM
                                                                                        Mar 08 2023 05:16:00      US Bank, POB 790408, St Louis, MO 63179
       Case 23-10642-amc                   Doc 8 Filed 03/09/23 Entered 03/10/23 00:32:39                                       Desc Imaged
                                                Certificate of Notice Page 2 of 4
District/off: 0313-2                                              User: admin                                                             Page 2 of 2
Date Rcvd: Mar 07, 2023                                           Form ID: 309A                                                         Total Noticed: 16
TOTAL: 13


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 09, 2023                                        Signature:           /s/Gustava Winters
     Case 23-10642-amc                           Doc 8 Filed 03/09/23 Entered 03/10/23 00:32:39                                               Desc Imaged
                                                      Certificate of Notice Page 3 of 4
Information to identify the case:

Debtor 1:
                      Michael V. Sajeski                                               Social Security number or ITIN:   xxx−xx−0694
                                                                                       EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                              Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Eastern District of Pennsylvania                Date case filed for chapter:        7     3/4/23

Case number:           23−10642−amc

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                     10/20
**Debtor's Photo ID & Social Security Card Must Be Presented at 341 Hearing**

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                            About Debtor 2:

1.        Debtor's full name                     Michael V. Sajeski

2.        All other names used in the
          last 8 years

3.      Address                                  952 Harmony Hill Road
                                                 West Chester, PA 19380

4.      Debtor's attorney                        GARY E. THOMPSON                                           Contact phone 610−701−6361
                                                 150 E. Swedesford Road
        Name and address                         1st Floor                                                  Email: get24esq@aol.com
                                                 Wayne, PA 19087

5.      Bankruptcy trustee                       GARY F. SEITZ                                              Contact phone 215−238−0011
                                                 Gellert Scali Busenkell & Brown LLC
        Name and address                         8 Penn Center                                              Email: gseitz@gsbblaw.com
                                                 1628 John F. Kennedy Blvd
                                                 Suite 1901
                                                 Philadelphia, PA 19103
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
    Case 23-10642-amc                            Doc 8 Filed 03/09/23 Entered 03/10/23 00:32:39                                                Desc Imaged
                                                      Certificate of Notice Page 4 of 4
Debtor Michael V. Sajeski                                                                                           Case number 23−10642−amc


6. Bankruptcy clerk's office                    900 Market Street                                            Hours open:
                                                Suite 400                                                    Philadelphia Office −− 9:00 A.M. to
    Documents in this case may be filed at this Philadelphia, PA 19107                                       4:00 P.M; Reading Office −− 9:00
    address. You may inspect all records filed                                                               A.M. to 4:00 P.M.
    in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                             Contact phone (215)408−2800

                                                                                                             Date: 3/7/23


7. Meeting of creditors                          April 13, 2023 at 11:40 AM                                  Location: Section 341 Meeting will
                                                                                                             be conducted by telephone.
    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              Please consult the docket or
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            contact the trustee appointed to
    both spouses must attend. Creditors may                                                                  the case for access or call−in
    attend, but are not required to do so.       docket.
                                                                                                             information.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 6/12/23
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 https://pacer.uscourts.gov . If you believe that the law does not authorize an exemption
                                                 that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                 receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
